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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 In re:                                         §
                                                §
 FREE SPEECH SYSTEMS, LLC,                      §         Case No. 22--60043
                                                §
                               DEBTOR.          §         (Subchapter V Debtor)
                                                §             Chapter 11


  EMERGENCY MOTION OF THE LAW OFFICES OF RAY BATTAGLIA, PLLC, TO
       WITHDRAW AS COUNSEL FOR FREE SPEECH SYSTEMS, LLC

              NOTICE UNDER BANKRUPTCY LOCAL RULE 9013-1(b) AND 9013-1(i)

   THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
   OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
   PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
   AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY.
   YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN TWENTY-ONE (21) DAYS OF
   THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
   MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE,
   THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU
   OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
   ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
   MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE MOTION AT
   THE HEARING.

   REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

   EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT CONSIDERS THE
   MOTION ON AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN TWENTY-
   ONE (21) DAYS TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF OR IF YOU
   BELIEVE THAT THE EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU
   SHOULD FILE AN IMMEDIATE RESPONSE.

   EMERGENCY RELIEF IS NEEDED BY MARCH 11, 2024.

   THERE WILL BE A HEARING ON THIS MATTER ON MARCH 11, 2024, AT 3:00 P.M.
   (PREVAILING CENTRAL TIME) IN COURTROOM 401, 515 RUSK ST., HOUSTON, TX
   77002.

TO THE HONORABLE CHRISTOPHER LOPEZ, UNITED STATES BANKRUPTCY
JUDGE:

          COMES NOW the Law Offices of Ray Battaglia, PLLC (the “Movant”) and files this Motion

to Withdraw as Counsel for Free Speech Systems, LLC (the “Motion”). In support of this Motion,
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the Movant respectfully states as follows:

                                   JURISDICTION AND VENUE

     1.        This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

1334 and the Standing Order of Reference from the United States District Court for the Southern

District of Texas. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

     2.        The statutory predicate for the relief sought herein is 11 U.S.C. §327, Federal Rule of

Bankruptcy Procedure 2016(a), and the Local Rules of this Court.

                                           BACKGROUND

     3.        On July 29, 2022 (the “Petition Date”), Free Speech Systems, LLC (the “Debtor” or

“FSS”) commenced a case by filing a petition for relief under chapter 11, subchapter v, of the

Bankruptcy Code (the “Case”) with the Court.

     4.        On August 20, 2022, the Debtor filed its Application to Employ the Law Offices of

Ray Battaglia, PLLC as Bankruptcy Co-counsel Effective as of July 29. 2022 [ECF #84]. On

September 20.2022, this Court approved the retention of Applicant as co-counsel for the Debtor (the

“Retention Order”) (ECF #180).

     5.        Movant was originally retained to serve as Co-counsel with the firm of Shannon &

Lee. Movant is a sole practitioner and the Debtor sought to retain the firms as co-counsel to insure

sufficient capacity to fulfill all obligations to the Court and the Debtor’s creditors.

     6.        On September 20, 2022, the Court denied the Debtor’s application to employ Shannon

and Lee [ECF # 182]. At the same time, the Court denied the application to retain Marc Schwarz as

Chief Restructuring Officer of the Debtor. [ECF #181].

     7.        The Court’s denial of the retention of co-counsel left Movant solely responsible for

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all aspects of the representation of the Debtor. Movant expressed reservations regarding the

unexpected increase in its duties and obligations at the September 20, 2022, hearing. Nevertheless,

Movant has fulfilled those duties and obligations and has zealously represented the Debtor as sole

counsel for the ensuing 17 months.

     8.        On October 3, 2022, Movant, on behalf of the Debtor filed an Emergency Application

to retain Patrick Magill as Chief Restructuring Officer (“CRO”) [ECF # 205]. The Court approved

the CRO’s retention on October 14, 2022 [ECF# 239]. That Order imposed certain limits on the

authority of the CRO at the request of the United States Trustee.

      9.       Movant and the CRO had no relationship prior to his retention as CRO and for the

 most part have had a constructive working relationship since his appointment as CRO. Over time

 the relationship has deteriorated. Recently the CRO instructed Movant as FSS counsel that it had

 no authority to “negotiate on behalf of FSS, including a decision to extend a deadline”. The CRO’s

 instructions run afoul of the Texas Lawyers Creed which states “I will advise my client that I

 reserve the right to determine whether to grant accommodations to opposing counsel in all matters

 that do not adversely affect my client’s lawful objectives. A client has no right to instruct me to

 refuse reasonable requests made by other counsel.”

     10.       Moreover, a key objective of a chapter 11 bankruptcy is seeking consensual resolution

 of disputes. Movant has endeavored to find common ground on all contested matters which have

 come before the Court. Negotiations between principals in this case are not feasible as the Sandy

 Hook plaintiffs have only participated in this case through counsel. The CRO’s instructions not to

 engage in negotiations is contrary to the duties of debtor’s counsel in a chapter11 case.

     11.       On January 25, 2024, Movant and the CRO discussed pursuit of a specific litigation


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claim. Movant advised that pursuit of that claim at this time was ill advised for reasons discussed

and strongly recommended against pursuit of the claim in question at that time. The CRO instructed

Movant to file the lawsuit. Movant refused to do so on the basis that pursuit of the claim was not

in the Debtor’s best interest at the time.

    12.        Since that heated exchange between Movant and the CRO, the CRO withheld

payment of Movant’s fees and expenses in January and February of 2024. The CRO paid fees due

to other case professionals as well as his own monthly compensation. Movant’s compensation was

intentionally withheld on instructions of the CRO as a rebuke for the January 25th disagreement.

    13.        Movant’s compensation was identified to be paid in the Debtor’s interim cash

collateral budgets for January and February 2024 [ECF# 779 and ECF# 797 respectively].

Moreover, withholding payment of Movant’s fees was in violation of this Court’s Order Granting

Movant’s Third Interim Fee Application [ECF# 783] and the Court’s Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses of Retained Professionals.

[ECF # 202].

    14.        On February 20, 2024, Movant sent the CRO an email advising that Movant would

file this Motion to Withdraw as Counsel for the Debtor if the CRO failed to pay the outstanding

balance of fees and expenses owed to Movant by the close of business on February 23, 2024. To

this date, the CRO has neither paid the overdue compensation nor responded to Movant’s email.

    15.        On February 9, 2024, the CRO caused to be filed an Emergency Application to

approve the employment of Harold “Hap” May PC as Co-Counsel [ECF# 806]. Mr. May’s firm

has previously been employed as special tax counsel in this case. While Movant welcomes Mr.

May’s participation on behalf of the Debtor, the CRO never contacted Movant to discuss the


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expansion of the May firm’s role in this case or more importantly to discuss coordination of efforts

between the two firms in order to assign areas of responsibility and to avoid duplication of expense.

                                          DISCUSSION

    16.       Rule 1.15 of the Texas Disciplinary Rules of Prof. Conduct provides in part that a

lawyer may withdraw from representing a client if: “a client insists upon pursuing an objective that

the lawyer considers repugnant or imprudent or with which the lawyer has fundamental

disagreement”. In addition, Rule 1.15 provides for withdrawal for “other good cause”.

    17.       At this time, it remains unclear whether the CRO remains intent on pursuing the ill

advised litigation. However, the CRO’s demand that Movant pursue that objective satisfies the

requirements of Rule 1.15 of the Texas Disciplinary Rules of Prof. Conduct. Moreover, the lack of

communications following the argument with the CRO and his blatant retaliation by withholding

payment to Movant is evidence that the lawyer client relationship is fundamentally broken, and the

trust required between client and lawyer irreparably damaged. Finally, the CRO’s failure to pay

Movant’s allowed fees and expenses pursuant to Orders of this Court is sufficient cause for

Movant’s withdrawal as counsel for the Debtor.

    18.       The Debtor will not be prejudiced by Movant’s withdrawal. Mr. May’s firm is

familiar with the Debtor, its operations and the Debtor’s Amended Plan of Reorganization. Mr.

May participated in drafting the Trust and Trust Distribution Procedures which are an integral part

of the Plan. There are no contested or adversary matters currently on the docket, affording the May

firm adequate time to transition.

                             BASIS FOR EMERGENCY RELIEF

   19.        Movant respectfully request emergency consideration of this Motion in accordance


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with Bankruptcy Local Rule 9013-1(i).         Confirmation of the Debtor’s Amended Plan of

Reorganization is set for March 25, 2024, although the parties are currently in discussions to

reschedule those hearings until late April 2024.       Emergency relief is warranted under the

circumstances to ensure that Mr. May’s firm can assume full responsibility for those hearings.

Accordingly, the Debtor respectfully requests that the Court approve the relief requested in this

Motion on an emergency basis.

       WHEREFORE PREMISES CONSIDERED, the Law Offices of Ray Battaglia, PLLC

requests that the Court grant the Motion authorizing the firm and its professionals to withdraw from

the representation of the Debtor in this case and all related adversary proceedings and grant such

other and further relief as the Cout may deem appropriate.

          Respectfully submitted February 29, 2024.

                                     THE LAW OFFICES OF RAY BATTAGLIA, PLLC.
                                     66 Granburg Circle
                                     San Antonio, Texas 78218
                                     Telephone (210) 601-9405
                                     Email: rbattaglialaw@outlook.com


                                     By: /s/ Raymond W. Battaglia
                                     Raymond W. Battaglia
                                     Texas Bar No. 01918055

                                     ATTORNEYS FOR FREE SPEECH SYSTEMS, LLC.




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                                CERTIFICATE OF ACCURACY


       I hereby certify that the forgoing statements are true and accurate to the best of my knowledge
and belief. This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).

                                                     /s/ Raymond W. Battaglia




                                  CERTIFICATE OF SERVICE


       On February 29, 2024, a true and correct copy of the foregoing document was filed with the
Court and served electronically upon those parties registered to receive electronic notice via the
Court’s CM/ECF system, as set forth below.


                                                     /s/ Raymond W. Battaglia




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